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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


WP COMPANY LLC
d/b/a THE WASHINGTON POST,                     Case No. 1:23-cv-3333

       Plaintiff,

          v.

DEFENSE COUNTERINTELLIGENCE AND
SECURITY AGENCY,

           Defendant.


  MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF PLAINTIFF’S
    CROSS-MOTION FOR SUMMARY JUDGMENT AND IN OPPOSITION TO
           DEFENDANT’S MOTION FOR SUMMARY JUDGMENT
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                                PRELIMINARY STATEMENT

       In what federal prosecutors would later call “one of the largest leaks of classified

information in United States history,” a user of the social media platform Discord leaked to

fellow users of his servers in 2022 and 2023 hundreds of classified documents and a trove of top-

secret information regarding the Russian-Ukrainian war, U.S. interactions with its allies, and

other sensitive topics. After a fellow Discord user began posting some of that material elsewhere

online, authorities traced the leaks to Jack Teixeira, then a 21-year-old cyber defense operations

journeyman in the Massachusetts Air National Guard whose Top Secret/Sensitive

Compartmented Information security clearance gave him access to some of the military’s most

highly classified materials. Teixeira now awaits sentencing in the U.S. District Court for the

District of Massachusetts after pleading guilty to six felony violations of the Espionage Act.

       The facts that emerged as Teixeira’s prosecution progressed raised troubling questions

about how and why Teixeira obtained access to classified information in the first place.

Prosecutors revealed that Teixeira had been suspended from his high school and investigated by

local police after making remarks to other students about Molotov cocktails, guns in school, and

racial threats. The incident was so disturbing that those same local authorities repeatedly denied

Teixiera’s applications for a firearms permit – until he cited his Air Force enlistment and security

clearance as factors showing he had reformed. In motions seeking to keep Teixeira detained

before trial, prosecutors depicted Teixeira as having manipulated his background investigator

into approving his security clearance by downplaying the high school incident and concealing his

online racist rants and fascination with mass shootings.

       Teixiera’s security breach, and whether any government failures contributed to it, are

issues of the utmost public concern that naturally drew extensive nationwide news coverage. See




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Compl. ¶ 12 & nn. 6-8 (Dkt. 1). To further its in-depth coverage of this serious national security

breach, Plaintiff WP Co., LLC, d/b/a The Washington Post (the “Post”) filed a Freedom of

Information Act request with the Defense Department agency that conducts background checks

for security clearances, seeking records that could show if there were shortcomings in Texiera’s

background investigation, as prosecutors’ public filings in the criminal case have indicated. See

id. ¶¶ 13-14.

       Defendant Defense Counterintelligence and Security Agency (“DCSA”) denied the

Post’s request, withholding more than 100 pages of responsive public records in their entirety.

See Mem. in Supp. of Def.’s Mot. for Summary Judgment (“DCSA Mem.”) at 3. This

withholding runs counter to FOIA’s purpose “to open agency action to the light of public

scrutiny” and further “the citizens’ right to be informed about what their government is up to,”

including – and especially – when the government makes embarrassing and harmful mistakes.

ACLU v. DOJ (“ACLU I”), 655 F.3d 1, 6 (D.C. Cir. 2011) (cleaned up). Through this lawsuit,

the Post is challenging DCSA’s improper denial of its request under FOIA and seeking to

vindicate the public’s right of access to these records. DCSA has failed to justify its blanket

withholdings for six principal reasons.

       First, DCSA asserts that it may withhold these public records pursuant to FOIA

Exemptions 6 and 7(c), which are intended to protect personal privacy. But DCSA has not

justified its invocation of the privacy exemptions. The agency failed to properly balance any

personal privacy interests against the strong public interest in obtaining the information these

records contain. Now that he has pleaded guilty and been convicted of six felonies for

unlawfully leaking government secrets, Teixeira’s privacy interest in the contents of his security

clearance background investigation has evaporated – or, at most, diminished so far as to be




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negligible. Any privacy interests of other individuals identified in the records can be served by

redacting personally identifying information rather than withholding the records in full. The

extent of DCSA’s invocation of privacy with little or no thought is clear from its decision to

withhold copies of two publicly available news articles, which by their very nature cannot

possibly be withheld under these exemptions.

       Second, DCSA belatedly invokes the deliberative process privilege under Exemption 5,

which allows withholding of pre-decisional and deliberative records. However, DCSA’s

conclusory justifications utterly fail to meet the law’s requirements to specifically describe the

nature of the document, the relative positions of the author(s) and recipient(s), and the decision

to which they purportedly relate.

       Third, the agency states it is withholding some information under Exemption 7(E),

which covers law enforcement records that would disclose techniques or procedures in a way

that could reasonably be expected to risk circumvention of the law. But the information being

withheld pursuant to this exemption is whether Teixeira’s name came up in a search of a known

Federal Bureau of Investigation database. That yes-or-no answer does not provide any non-

public information about the existence or capabilities of that FBI database, let alone any

information that someone could use to circumvent the law.

       Fourth, DCSA asserts it is withholding information provided by the Treasury

Department that is exempt from disclosure under the Bank Secrecy Act. DCSA’s descriptions of

its withholdings, however, do not provide enough detail to show that only Bank Secrecy Act

information is being withheld pursuant to this exemption.

       Fifth, DCSA has not met its statutory burden to show that releasing information it claims

is covered by discretionary exemptions would foreseeably harm the interests those exemptions




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protect. The agency’s boilerplate, conclusory statements fall far short of what the law requires: a

concrete explanation of how the release of these specific records would harm the interests

protected by the claimed exemptions. The most absurd example in the current record is the two

news articles in Teixeira’s file, which already are available to the public, and the release of

which could pose no foreseeable harm to anyone’s personal privacy.

       Sixth, the agency also has failed to show that it cannot reasonably segregate and release

non-exempt information from any information that is actually exempt from disclosure. Again,

DCSA’s conclusory claims to have performed this analysis are belied by its descriptions of the

records themselves, which indicate they contain a substantial amount of information that is not

exempt.

          For the reasons set forth below, this Court should deny DCSA’s Motion for Summary

Judgment; grant the Post’s Cross-Motion for Summary Judgment; and issue an order requiring

the release of the requested records or directing DCSA to provide the records to the Court for in

camera review to determine which records of portions thereof must be released.

                    FACTUAL BACKGROUND AND PROCEDURAL HISTORY

       I.       Teixeira’s Leaks, Arrest and Prosecution

       Federal agents arrested Teixeira on April 13, 2023 as reports circulated online and in the

news media regarding a massive leak of classified information emanating from Discord, a social

media platform popular with video gamers that allows users to create “servers” in which

participants can chat amongst themselves. Mem. and Order on Detention at 5, United States v.

Teixeira, No. 1:23-cr-10159-IT (D. Mass. filed May 22, 2023) (Dkt. 37), attached as Exhibit 1 to

the Declaration of Matthew E. Kelley (“Kelley Decl.”); see also Compl. ¶ 9 & nn. 1-2.




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       A June 2023 indictment charged Teixeira with six felony counts for retaining and

transmitting national defense information. See Indictment, United States v. Teixeira, No. 1:23-

cr-10159-IT (D. Mass. filed June 15, 2023) (Dkt. 48), attached as Kelley Decl. Ex. 2. According

to the indictment, Teixeira disclosed highly classified information including sensitive U.S.

intelligence regarding the Russia-Ukraine war; a plot by a foreign adversary to target U.S. forces

abroad; and a description of a foreign government’s shifts in policy and attempts to repair its

relations with the United States. See id. at 6-8.

       Seeking to keep Teixeira behind bars before trial, prosecutors told the Court that Teixeira

“is responsible for one of the largest leaks of classified information in United States history, and,

in that regard, will be known in the same breath as Edward Snowden.” Gov’t’s Opp. to Def.’s

Appeal of Magistrate Judge’s Order on Detention at 19, United States v. Teixeira, No. 1:23-cr-

10159-IT (D. Mass. filed Aug. 4, 2023) (Dkt. 87), Kelley Decl. Ex. 3. In that and other filings

seeking pretrial detention, prosecutors cited disturbing details about Teixeira’s background

calling into question his suitability for a security clearance in the first place. See Compl. ¶ 12.

For example, in a factual proffer the Government explained that in 2018 Teixeira was suspended

from high school after “a classmate overheard him make remarks about weapons, including

Molotov cocktails, guns at the school, and racial threats.” Gov’t’s [Second] Supp’l Mot. in

Support of Pretrial Detention at 5, United States v. Teixeira, No. 1:23-cr-10159-IT (D. Mass.

filed May 17, 2023) (Dkt. 34), Kelley Decl. Ex. 4.

       Because of that incident, his hometown police department denied Teixiera’s applications

for a firearms identification card in 2018 and 2019. Id. The Government attached to its proffer a

copy of a letter Teixeira wrote to local authorities in support of his successful re-application for a




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firearms card in 2020. Id. In it, Teixeira wrote that he discussed the high school incident with

the investigator responsible for his background check:

        Everything was explained to the investigator about the incident as well as police
        reports, school letters and any or all documents that were submitted to the
        investigator that were generated from this event. I was very concerned that my
        decisions that I made at 16 would haunt my future in serving my country in the
        military and am glad they did not.

Id. Attachment F at 1 (p. 32 of PDF). Prosecutors argued this was part of a pattern of Teixeira

concealing and downplaying the troubling aspects of his past:

        [W]hile the Defendant may have provided carefully curated information to his
        background investigator about the “misunderstanding” in high school, he certainly
        did not reveal—and potentially took action to actively conceal—the significant
        volume of racist, antisemitic, and violent rhetoric he posted online lest his true
        nature and character prevent him from achieving his objective.

Id. at 7-8.

        U.S. Magistrate Judge David H. Hennessy agreed with prosecutors and ordered

Teixeira’s pretrial detention, citing among other reasons Teixiera’s suspension from high school

and his “unhealthy interest in [guns’] use in domestic mass shootings.” Kelley Decl. Ex. 1 at 16.

Judge Hennessy held that pretrial detention was necessary to protect national security, noting that

“[g]iven the publicity this prosecution has received, there is no speculation in recognizing that

foreign nations are aware” that Teixeira had a TS/SCI security clearance and was accused of

leaking highly classified information online. Id. at 19.

        On March 4, 2024, Teixeira pleaded guilty to all six felony counts in his indictment for

Willful Retention and Transmission of National Defense Information in violation of 18 U.S.C. §

793(e). See Plea Agreement, United States v. Teixeira, No. 1:23-cr-10159-IT (D. Mass. filed

March 4, 2024) (Dkt. 130), Kelley Decl. Ex. 5. He agreed to a sentencing range of between 132

months and 200 months (11 years and 16 years, eight months) in prison. Id. at 4. Teixeira’s

sentencing is scheduled for September 27, 2024.


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       II.       The Post’s FOIA Request

       To serve the public’s interest in understanding how someone with Teixeira’s background

could gain a high-level security clearance, Post national security reporter Alex Horton filed a

FOIA request with DCSA on August 8, 2023 (the “Request”), seeking expedited processing and

release of the following public records:

              a. All records relating to or mentioning the background investigation for the security
                 clearance of [Massachusetts Air National Guard] Airman First Class Jack
                 Teixeira.

              b. Any records relating to or mentioning . . . the adjudication of Airman First Class
                 Jack Teixeira’s security clearance.

              c. Any records relating to Airman First Class Jack Teixeira that contain the name of
                 the company that conducted investigation(s) and/or adjudication(s) of Airman
                 First Class Jack Teixeira’s security clearance and/or that contain the name of the
                 investigator that conducted investigation(s) and/or (adjudications) of Airman First
                 Class Jack Teixeira’s security clearance.

Compl. ¶ 13 & Ex. A.

       Horton explained the strong public interest in the requested public records, which would

inform the “ongoing public debate over whether the U.S. government is properly vetting

personnel to have access to top secret information, and if failures within the system are a threat

to U.S. national security, following the appearance that clearance background investigators failed

to find or disclose potentially disqualifying information about Teixeira.” Id. ¶ 14. The Request

also noted that “there are credible claims, including by Rep. Jim Himes and other lawmakers,

that aspects of the government’s activity in failing to properly vet Teixeira for a security

clearance [are] improper.” Id.

       III.      DCSA’s Response and the Post’s Administrative Appeal

       DCSA Supervisory Government Information Specialist Christina F. Bianco responded to

the Request on September 14, 2023, stating that DCSA had located 109 pages of responsive



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records and that the agency was withholding them in their entirety pursuant to FOIA Exemptions

6 and 7(C). See Compl. Ex. B at 1. In that initial response, Bianco asserted a substantial privacy

interest in the records, which she said are “inherently related to law enforcement.” Id. Bianco

said the records “contain[] information on and references to individuals interviewed as

investigative sources whose link to the official inquiry may be the result of ‘mere happenstance’

or the identities of law enforcement personnel who perform clerical or administrative duties,”

and also “contain information that is ‘practically obscure.’” Id. Bianco also asserted that DCSA

had balanced the interests involved and considered the foreseeable harm that could result from

releasing the records. Id.

          The Post administratively appealed the denial of its Request on September 21, 2023.

Compl. ¶ 18. DCSA did not provide a determination of the appeal within the statutory deadline.

Id. ¶ 20.

          IV.    This Lawsuit

          The Post filed this lawsuit on November 11, 2023. See generally Compl. Pursuant to

this Court’s scheduling order, on June 18, 2024 DCSA moved for summary judgment.

          DCSA asserts that it performed a reasonable search for responsive records 1 and properly

withheld the records in full pursuant to FOIA Exemptions 6 and 7(C). DCSA Mem. at 4-9.

Although it did not cite any other exemptions in its initial denial, DCSA also states that it is

withholding certain information under Exemptions 5, 7(E) and 3. Id. at 9-17. The agency also

argues that it properly determined that no non-exempt information in the responsive records

could be segregated and released. Id. at 17-18.




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    The Post is not challenging the adequacy of the search.



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       The Post now cross-moves for summary judgment on the grounds that DCSA’s blanket

withholdings are improper and its justifications are insufficient to meet FOIA’s strict

requirements.



                                              ARGUMENT

       I.       STANDARD OF REVIEW

       Under the familiar legal standard, a party is entitled to summary judgment when there is

no genuine dispute of material fact and the movant is entitled to a judgment as a matter of law.

E.g., Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247-48 (1986). In a FOIA case, a court

must review the record de novo to “ascertain whether the agency has sustained its burden of

demonstrating that the documents requested . . . are exempt from disclosure under the FOIA.”

Summers v. DOJ, 140 F.3d 1077, 1080 (D.C. Cir. 1998) (citation omitted). Summary judgment

for the government is proper only if its filings “describe the justifications for nondisclosure with

reasonably specific detail, demonstrate that the information withheld logically falls within the

claimed exemption, and are not controverted by either contrary evidence in the record nor by

evidence of agency bad faith.” Larson v. Dep’t of State, 565 F.3d 857, 862 (D.C. Cir. 2009)

(emphases added).

       Because FOIA “provides a way for persons to obtain information about the conduct of

their government,” the statute’s “provisions are generally to be construed liberally,” and its

exemptions “are to be construed narrowly.” Leopold v. DOJ, 94 F.4th 33, 36-37 (D.C. Cir.

2024). The government, therefore, “bears the burden of proving that an exemption applies.”

Bartko v. DOJ, 898 F.3d 51, 62 (D.C. Cir. 2018). Under the 2016 amendments to FOIA, the

government also “bears the burden of showing that it ‘reasonably foresees that disclosure would




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harm an interest protected by an exemption’ or that ‘disclosure is prohibited by law.’” Leopold,

94 F.4th at 37 (citations omitted).

       II.     DCSA’S WITHHOLDING RESPONSIVE RECORDS IS UNJUSTIFIED

       DCSA has not satisfied its burden to justify its blanket withholding of all of Teixeira’s

background investigation records. Regarding Exemptions 6 and 7(C), the agency has not shown

that it properly balanced the public’s strong interest in learning about the deeply flawed process

that allowed Teixeira access to classified information against any privacy interest Teixeira has.

For Exemption 5, DCSA has not provided the explanation necessary to justify its invocation of

the deliberative process privilege. Nor has DCSA properly justified its invocation of Exemption

7(E) to withhold imprecise information about an FBI database. Finally, DCSA has not described

the portions of records it is withholding pursuant to Exemption 3 with the particularity necessary

to evaluate whether those withholdings are overbroad.

       Further, DCSA’s filings in support of summary judgment suffer from fundamental

deficiencies that call into question all of its assertions. Not only did the agency belatedly invoke

three exemptions beyond those for privacy, on summary judgment it offers merely the kind of

conclusory, boilerplate assertions that are insufficient to meet the law’s requirements for detail

and precision in its descriptions of the foreseeable harm it concluded would result from release.

Similarly, DCSA has failed to support its conclusion that no information could be segregated

from legitimately exempt information. Perhaps most troubling is DCSA’s withholding of two

publicly available news articles without offering any justification whatsoever.

               A. The Teixeira Records Cannot Be Withheld Under Exemptions 6 and 7(C)

       From the beginning, DCSA has asserted that it is withholding all 109 pages of responsive

records pursuant to FOIA’s privacy exemptions, 6 and 7(C). See Compl. ¶¶ 15-16. Exemption 6




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allows records to be withheld only if they are “personnel and medical files and similar files the

disclosure of which would constitute a clearly unwarranted invasion of personal privacy.”

5 U.S.C. § 552(b)(6). Exemption 7(C) similarly authorizes an agency to withhold “records or

information compiled for law enforcement purposes, but only to the extent that the production of

such law enforcement records or information . . . could reasonably be expected to constitute an

unwarranted invasion of personal privacy.” Id. § 552(b)(7)(C). 2 Where the government claims

both exemptions, courts focus on Exemption 7(C) because it is more protective of personal

privacy than Exemption 6 and therefore “establishes a lower bar for withholding material.”

ACLU I, 655 F.3d at 6.

       FOIA’s privacy exemptions “require agencies and reviewing courts to ‘balance the

privacy interests that would be compromised by disclosure against the public interest in the

release of the requested information.’” 100Reporters LLC v. DOJ, 248 F. Supp. 3d 115, 158

(D.D.C. 2017) (quoting Beck v. DOJ, 997 F.2d 1489, 1491 (D.C. Cir. 1993)). The public interest

side of the balance requires consideration of the extent to which the disclosure would advance

“the basic purpose of the Freedom of Information Act ‘to open agency action to the light of

public scrutiny,’” thus furthering “the citizens’ right to be informed about ‘what their

government is up to.’” DOJ v. Reporters Comm. for Freedom of the Press, 489 U.S. 749, 772

(1989) (citations omitted). The D.C. Circuit has stressed that “[a]t all times, courts must bear in

mind that FOIA mandates a strong presumption in favor of disclosure, and that the statutory




2
  The D.C. Circuit has held that background investigation records qualify as law enforcement
records for FOIA Exemption 7. See Mittleman v. Office of Pers. Mgmt., 76 F.3d 1240, 1243
(D.C. Cir. 1996).




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exemptions, which are exclusive, are to be narrowly construed.” ACLU I, 655 F.3d at 5 (cleaned

up).

       The public interest in the records of Teixeira’s security clearance investigation and

adjudication is both compelling and obvious. The public has an interest in learning about how

DCSA conducts its security clearance investigations and adjudications in general, and in

particular why and how DCSA approved a high-level security clearance for someone with

Teixiera’s disturbing background. Federal prosecutors have indicated in public court records

that a dangerous and irresponsible young man with an unhealthy interest in guns and a total

disdain for his oaths to protect the United States was able to fool the system meant to protect

against such security threats. Kelley Decl. Ex. 4 at 7-8. The D.C. Circuit has recognized the

public’s “interest in knowing that a government investigation itself is comprehensive, that the

report of an investigation released publicly is accurate . . . and that those who are accountable are

dealt with in an appropriate manner.” Stern v. FBI, 737 F.2d 84, 92 (D.C. Cir. 1984). So too,

here. The public interest in learning more about what its government was up to in this massive

national security breach is a weighty one.

       DCSA gives this interest the back of its hand, asserting that the public interest in

understanding how background investigations are conducted would not be well served by

releasing the records at issue here, which it claims would provide “minimal insight” into its

performance of its duties. DCSA Mem. at 9. The agency’s argument ignores the specific

context of the records at issue. The records of Teixeira’s clearance investigation and

adjudication will shed light on DCSA’s performance of its duties in clearing him for his sensitive

position, as federal prosecutors have implied that Teixeira was able to mislead a background

investigator about the high school incident and conceal his violent and racist online postings.




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This is not a case where “nothing to see here, move along” is the appropriate response to public

inquiry.

       On the other side of the equation are the personal privacy interests that Exemptions 6 and

7(C) were enacted to protect. Because of its application in the law enforcement context, the

primary interest Exemption 7(C) protects is an individual’s interest in avoiding the

embarrassment, reputational harm and other negative consequences of being publicly associated

with an investigation of criminal activity. See, e.g., Roth v. DOJ, 642 F.3d 1161, 1174 (D.C. Cir.

2011). DCSA flips this concern on its head, arguing that Teixeira has a heightened privacy

interest in keeping these records secret, “as the release of his files and corresponding public

scrutiny and speculation could hinder the ongoing criminal proceeding and Teixeira’s defense.”

DCSA Mem. at 9.

       That argument simply makes no sense. At the time of the Request, Teixeira’s name had

been publicly linked not just with run-of-the-mill criminal activity, but to one of the worst

breaches of national security in U.S. history. See Compl. ¶¶ 9-12 & nn. 1-8. Since then, he has

pleaded guilty to those crimes; he has no defense to “hinder.” There is nothing secret about the

fact that Teixeira had to pass a background investigation to obtain the security clearance that

facilitated his crimes. Being associated with that background investigation does not itself tie to

Teixeira to any criminal activity. DCSA has not suggested that it is conducting any ongoing

investigation, and Teixeira’s plea bargain and adjudication of guilt shows any investigation is

now over. Teixeira’s suspension from high school for making comments about guns and

explosives also is a matter of public record available to anyone with an internet connection.

       The D.C. Circuit has repeatedly recognized that people who have been convicted of

crimes have only a minimal privacy interest in keeping secret records relating to those crimes,




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particularly when facts about the convictions are publicly available. E.g., ACLU I, 655 F.3d at 7

(convicted criminals’ privacy interests in information regarding their convictions are

“substantially weaker than the privacy interests of individuals who have been investigated but

never publicly charged at all”). For example, the D.C. Circuit held that an Assistant U.S.

Attorney accused of misconduct and referred to the Justice Department’s Office of Professional

Responsibility by both the Fourth Circuit and his own office had “substantially diminished”

privacy interests in records about those alleged misdeeds. Bartko, 898 F.3d at 69. There, as

here, “[a]ny interest [the subject of the investigation] might have had in keeping his name in the

free-and-clear has already largely evaporated.” Id.; see also ACLU I, 655 F.3d at 9 (“The fact

that information about these proceedings is readily available to the public reduces further still the

incursion on privacy resulting from disclosure.”). In short, Teixeira’s non-existent, or at best,

miniscule, privacy interests in his background investigation files pale in comparison to the

immense public interest in learning more about how he obtained his security clearance.

       DCSA also invokes the privacy interests of other individuals identified in the records,

such as people interviewed as part of the investigation and the subject’s relatives and personal

contacts. See Decl. of C. Bianco (“Bianco Decl.”) ¶ 8 (Dkt. 16-2); DCSA Mem. at 8. It is

settled law that, although Exemption 7(C) “may authorize the redaction of the names and

identifying information of private citizens mentioned in law enforcement files, it does not permit

an agency ‘to exempt from disclosure all of the material in an investigatory record solely on the

grounds that the record includes some information which identifies a private citizen or provides

that person’s name and address.’” Citizens for Responsibility & Ethics in Washington v. DOJ,

746 F.3d 1082, 1094 (D.C. Cir. 2014) (citation omitted). Consequently, courts “regularly require

agencies to disclose information that some may deem personal, so long as strategic redactions




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are used to stop readers from linking those records to any particular person.” Inst. for Justice v.

IRS, 547 F. Supp. 3d 1, 6 (D.D.C. 2021). Thus, to the extent that there are individuals named in

the records whose privacy interests outweigh the public interests involved, their identities should

be protected by targeted redactions, not blanket withholding.

       The Request also sought documents showing the name of the government contractor(s)

involved in Teixeira’s clearance investigation and adjudication. Compl. Ex. A. While not

specifically addressed by DCSA, the privacy interests of any contractors involved also would be

outweighed by the public interest in learning about Teixeira’s background check. FOIA’s

exemption for personal privacy “cannot be invoked ‘to protect the concerns of a contractor who

would be embarrassed by disclosure of his responsibility for shoddy work.’” Humane Soc’y of

United States v. Animal & Plant Health Inspection Serv., 386 F. Supp. 3d 34, 43 (D.D.C. 2019)

(quoting Sims v. CIA, 642 F.2d 562, 575 (D.C. Cir. 1980)). Further, the identities of any

corporate entities involved in the process cannot be withheld pursuant to Exemption 7(C)

because corporations do not have personal privacy interests. FCC v. AT&T Inc., 562 U.S. 397,

409-10 (2011) (“The protection in FOIA against disclosure of law enforcement information on

the ground that it would constitute an unwarranted invasion of personal privacy does not extend

to corporations.”).

       The clearest example of DCSA’s improper use of the privacy exemptions is its claim that

Exemptions 6 and 7(C) permit the withholding of two news articles DCSA describes as

“[p]ublicly available information gathered as part of the continuous evaluation program.” DCSA

Vaughn Index at 4 (Dkt. 16-3). Tellingly, DCSA has not asserted any reason the privacy

exemptions would apply: the “basis for withholding” column in the Vaughn index is blank for

these two entries. One is described as an NBC News article from April 13, 2023, the day of




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Teixeira’s arrest. Those details are sufficient to easily determine the article that is likely being

withheld. See Ken Dilanian, Michael Kosnar & Rebecca Shabad, FBI arrests 21-year-old Air

National Guardsman suspected of leaking classified documents, NBC News (Apr. 13, 2023),

https://www.nbcnews.com/politics/national-security/us-officials-identify-leaked-classified-

documents-suspect-21-year-old-rcna79577, Kelley Decl. Ex. 6. In other words, DCSA itself

characterizes these documents as news reports available to the public, yet is withholding them in

full based on a nonexistent privacy interest. FOIA prohibits such gamesmanship.

       Because the public’s interest in learning more about the background check that gave a

future leaker access to classified information far outweighs any minimal privacy interest Teixeira

may have, DCSA’s blanket withholdings under Exemptions 6 and 7(C) are improper. The

records should be released.

               B. The Records Cannot Be Withheld Under Exemptions 5, 7(E) or 3

       Although it only invoked the privacy exemptions in its denial of the Request, on

summary judgment the agency asserts three additional exemptions that it claims justify

withholding portions of the responsive records: Exemption 5, which allows withholding of

records that would be unavailable to an opponent in civil litigation; Exemption 7(E), which

allows withholding of information regarding confidential law enforcement techniques; and

Exemption 3, which requires withholding of information that is otherwise exempt from

disclosure by statute. None of these exemptions are properly justified.

                        i. DCSA Has Failed to Justify Its Withholdings Under Exemption 5

       DCSA claims that the deliberative process privilege under Exemption 5 allows it to

withhold two, two-page documents described as a “DOD CAF TECT Consultation Form” and an

“Executive Summary.” DCSA Vaughn at 4; DCSA Mem. at 12; Bianco Decl. ¶ 13. To invoke




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the deliberative process privilege, and, by extension, Exemption 5, the defendant agency must

establish that the material at issue is both “predecisional and deliberative,” meaning that it was

“generated before the adoption of an agency policy” and “reflects the give-and-take of the

consultative process.” Coastal States Gas Corp. v. Dep’t of Energy, 617 F.2d 854, 866 (D.C.

Cir. 1980). “At a minimum, the agency must provide three basic pieces of information in order

for the deliberative-process privilege to apply: (1) the nature of the specific deliberative process

involved, (2) the function and significance of the document in that process, and (3) the nature of

the decisionmaking authority vested in the document’s author and recipient.” Nat’l Sec.

Counselors v. CIA, 960 F. Supp. 2d 101, 189 (D.D.C. 2013). “Without such specificity, ‘a court

cannot decide, one way or the other, a deliberative process privilege claim.’” Lawyers’ Comm.

for Civil Rights Under Law v. DOJ, No. 18-cv-167 (EGS/GMH), 2020 U.S. Dist. LEXIS 246100,

at *86-87 (D.D.C. Oct. 16, 2020) (citation omitted).

       Here, DCSA has failed to provide any specific information for those three basic

categories. The agency’s declarant describes the documents only as “predecisional deliberative

communications and advisory opinions within intra-agency working documents maintained as

part of A1C Teixeira’s adjudicative file.” Bianco Decl. ¶ 13.

       DCSA’s Vaughn index describes the first document as an “[i]nternal communication

between adjudicator and subject matter representative seeking professional insight.” DCSA

Vaughn at 4. But it does not explain what “professional insight” was sought, how it related to any

decision involved, nor whether the adjudicator outranked the expert, they were equals, or the

expert held a higher rank. The description of the second document is even less enlightening: it is

listed as a “[r]eport prepared by CAS seeking advise [sic] from agency officials and General




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Counsel on a course of action.” DCSA Vaughn at 4. Again, this vague explanation contains none

of the basic information required to satisfy the privilege.

       Further, “agency communications containing purely factual material are generally not

protected by” the deliberative process privilege. Russell v. Dep’t of Air Force, 682 F.2d 1045,

1048 (D.C. Cir. 1982). Thus, “Exemption 5 disputes can often be resolved by the simple test that

factual material must be disclosed but advice and recommendations may [in some circumstances]

be withheld.” Wolfe v. Dep’t of Health & Human Servs., 839 F.2d 768, 774 (D.C. Cir. 1988).

DCSA has made no apparent attempt to identify and produce the factual information in the

documents it claims are protected by the deliberative process privilege. To the contrary, it does

not mention this requirement to release factual information at all.

       DCSA has failed to provide the specifics necessary to evaluate its claim of the deliberative

process privilege, and therefore has not met its burden to demonstrate that Exemption 5 applies.

                       ii. Exemption 7(E) Does Not Apply

       DCSA asserts it is withholding some portion of the records pursuant to Exemption 7(E),

which covers information in law enforcement records that “would disclose techniques and

procedures for law enforcement investigations or prosecutions, or would disclose guidelines for

law enforcement investigations or prosecutions if such disclosure could reasonably be expected

to risk circumvention of the law.” 5 U.S.C. § 552(b)(7)(E). DCSA invokes Exemption 7(E) for

portions of four documents: “Case Closing Transmittal” records dated February 9, 2020 and

May 4, 2020; a “Content Summary Sheet” also dated May 4, 2020; and an undated

“Investigative Results Report.” DCSA Vaughn at 1-3.

       DCSA’s declaration indicates that the only data withheld under Exemption 7(E) were

“the results of a search conducted with the FBI through their National Name Check Program




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(NNCP), now known as the Enterprise Vetting Center – Branch 1 Records (EVC-B1), commonly

referred to as a “name check” search.” Bianco Decl. ¶ 15. The declaration describes the results

of the name check search as “either ‘positive’ (i.e., denominated as ‘Record’) or negative (i.e.,

denominated as ‘No Record.’)” Id. DCSA argues that this information – whether or not a search

of a particular FBI database found anything – would “reveal whether an individual or his conduct

is of investigative interest, or conversely, whether such conduct has gone undetected by the FBI,

providing insight into the type, scope or manner of conducting FBI investigations.” DCSA

Mem. at 15.

       Without any details regarding what information is in the FBI database or how and where

the FBI obtains it, however, simply knowing whether or not a search of Texiera’s name returned

a “Record” does not reveal anything about the FBI database or how DCSA uses it. In other

words, the yes/no answer described in the Bianco Declaration does not indicate what information

would lead to a “hit” in the name search database or whether such information exists regarding

Teixeira that is not included in the database. Knowing the answer in this circumstance does not

illuminate what the question is. DCSA thus has failed to meet its burden to “demonstrate

logically how the release of the requested information might create a risk of circumvention of the

law.” Mayer Brown LLP v. IRS, 562 F.3d 1190, 1194 (D.C. Cir. 2009) (cleaned up).

       DCSA’s Memorandum states that the agency also is withholding under Exemption 7(E)

“internal review comments that designated Teixeira’s investigation for additional review,”

arguing that the basis for and information supporting that determination “would provide insight

into the particular process by which the Agency conducts its investigations,” thereby “allow[ing]

individuals to ‘game’ the system and determine exactly how to avoid such scrutiny.” DCSA




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Mem. at 16. This explanation also is too vague and generalized to provide the required logical

link between release of the information and circumvention of the law.

                      iii. To the Extent Exemption 3 Applies, It Must Be Applied Narrowly

       DCSA’s other newfound justification for withholding is that some of the records include

the results of a query to the Treasury Department’s Financial Crimes Enforcement Network

(“FinCEN”), which are shielded by the Bank Secrecy Act. While that statute does justify

withholding the financial information it covers, like all other FOIA exemptions, Exemption 3

must be applied narrowly, and the government bears the burden of showing that the exemption

applies. Am. Oversight v. Dep’t of Homeland Sec., No. 1:21-cv-3030-TNM, 2023 U.S. Dist.

LEXIS 156688, at *6 (D.D.C. Sep. 5, 2023).

       That means that only the specific information covered by the Bank Secrecy Act can be

withheld under Exemption 3, nothing more. However, DCSA’s declaration and Vaughn index

fail to identify precisely which portions of the records at issue contain information covered by

the Bank Secrecy Act. DCSA must describe those records of portions of records more precisely

to allow the Post and the Court to determine that the exemption does indeed apply and DCSA is

not withholding more than the statute covers.

               C. DCSA Did Not Meet Its Burden to Demonstrate Foreseeable Harm

       One fundamental problem with DCSA’s arguments on summary judgment is that the

agency has failed to meet its burden to show foreseeable harm caused by the release of the

responsive records. Having failed to meet this requirement, DCSA cannot justify the majority of

its withholdings.

       In 2016, Congress passed the FOIA Improvement Act, which places an additional burden

on agencies when withholding information subject to discretionary exemptions, such as




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Exemptions 5, 6, and 7, which DCSA invokes here. 3 See Pinson v. DOJ, 236 F. Supp. 3d 338,

359 (D.D.C. 2017). The Act provides that an agency may only withhold information if “(I) the

agency reasonably foresees that disclosure would harm an interest protected by an exemption . . .

or (II) disclosure is prohibited by law.” 5 U.S.C. § 552(a)(8)(A)(i). “Agencies cannot rely on

mere speculative or abstract fears, or fear of embarrassment to withhold information.” Reporters

Comm. for Freedom of the Press v. FBI, 3 F.4th 350, 369 (D.C. Cir. 2021) (internal marks

omitted). Rather, the “foreseeable harm” requirement “imposes an independent and meaningful

burden on agencies” to “concretely explain how disclosure ‘would’ – not ‘could’ – adversely

impair” an interest the exemption protects. Id. at 369-70 (internal marks omitted); see also

Judicial Watch, Inc. v. Dep’t of Commerce, 375 F. Supp. 3d 93, 98 (D.D.C. 2019) (“[A]n agency

must release a record—even if it falls within a FOIA exemption—if releasing the record would

not reasonably harm an exemption-protected interest[.]”).

         To carry their burden under this “foreseeable harm” requirement, agencies must “identify

specific harms to the relevant protected interests that it can reasonably foresee would actually

ensue from disclosure of the withheld materials and connect the harms in a meaningful way to

the information withheld.” Ctr. For Investigative Reporting v. U.S. Customs & Border Prot.,

436 F. Supp. 3d 90, 106 (D.D.C. 2019) (internal marks omitted). The law requires agencies to

“provide ‘a focused and concrete demonstration of why disclosure of the particular type of

material at issue will, in the specific context of the agency action at issue, actually impede’ the

interests protected by a FOIA exemption.” Leopold, 94 F.4th at 37 (citation omitted). Neither

“boilerplate and generic assertions” nor “wholly generalized and conclusory” statements will do.

Id. (citation omitted).


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    The foreseeable harm requirement does not apply to Exemption 3. Leopold, 94 F.4th at 37.



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        DCSA’s descriptions of its foreseeable harm analyses fail to meet those standards. The

agency merely refers to its arguments regarding the application of the exemptions as support for

the conclusion that foreseeable harm would result from release. See, e.g., Bianco Decl. ¶ 9

(asserting her office “conducted the requisite foreseeable harm analysis . . . and for those reasons

mentioned determined that the disclosure of A1C Teixeira’s investigative and adjudicative files

would cause him an unwarranted invasion of personal privacy”); id. ¶ 16 (“The requisite

foreseeable harm analysis has been conducted in the application of exemption (b)(7)(e). For the

reasons stated above, disclosure would risk circumvention of the law by providing some insight

into the type or scope of FBI investigations.”). For example, DCSA’s purported foreseeable

harm analysis for Exemption 5 merely regurgitates the generic justifications for the deliberative

process privilege: that release of those records “would inhibit the future exchange of

[deliberative] information if the adjudicative personnel undertaking those deliberations believed

the comments and/or recommendations they make might be released to . . . the public at large.”

Id. ¶ 14.

        Further, DCSA is withholding records that are not exempt under any provision of FOIA:

the two publicly available news articles. Bianco Decl. ¶ 6; Vaughn at 4. DCSA has not

explained, nor could it, how it could lawfully withhold open-source news articles, let alone what

harm could foreseeably arise from releasing them.

        DCSA’s circular reasoning and withholding of clearly non-exempt materials shows that it

has not met its burden to show that releasing the records it claims are subject to discretionary

exemptions would foreseeably cause harm to the interests those exemptions protect.




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               D. DCSA Withheld Reasonably Segregable, Non-Exempt Information

       Even if the Court were to find that DCSA has carried its burden to demonstrate that some

portion(s) of some record(s) could be withheld, FOIA still requires that “[a]ny reasonably

segregable portion” of the records be produced “after deletion of the portions which are exempt.”

5 U.S.C. § 552(b). To withhold any requested document in its entirety, therefore, an agency

“must demonstrate that it cannot segregate the exempt material from the non-exempt.”

Hertzberg v. Veneman, 273 F. Supp. 2d 67, 74 (D.D.C. 2003) (citing Kimberlin v. DOJ, 139 F.3d

944, 949-50 (D.C. Cir. 1998)). “[A] blanket declaration that all facts are so intertwined to

prevent disclosure under the FOIA does not constitute a sufficient explanation of non-

segregability.” Wilderness Soc’y v. Dep’t of Interior, 344 F. Supp. 2d 1, 19 (D.D.C. 2004); see

also Mead Data Cent. v. Dep’t of Air Force, 566 F.2d 242, 261 (D.C. Cir. 1977) (“[I]f the Air

Force decides to continue in its claim that the non-exempt material in these documents is not

reasonably segregable . . . , it must provide a more detailed justification than the conclusory

statements it has offered to date.”). Instead, “[t]o justify withholding a document in full, an

agency must show with reasonable specificity why the document cannot be further segregated, or

why the document is not reasonably segregable – for example, because the nonexempt material

would be an essentially meaningless set of words and phrases.” EPIC v. Dep’t of Homeland

Sec., 926 F. Supp. 2d 311, 315 (D.D.C. 2013) (cleaned up).

       DCSA’s purported justification for its blanket withholdings is insufficient. DCSA only

states in conclusory fashion that “no meaningful information could be disclosed without also

disclosing exempt information.” DCSA Mem. at 18; Bianco Decl. ¶ 17. This is not the required

“detailed justification” for withholding records in full. See Mead, 566 F.2d at 261.




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       DCSA asserts that it is “entitled to a presumption that it fulfilled its segregation duty

when it so swears, and that presumption can only be overcome by some ‘quantum of evidence’

credibly put forward by the requester.” DCSA Mem. at 18 (citing Sussman v. United States

Marshals Serv., 494 F.3d 1106, 1117 (D.C. Cir. 2007)). Assuming arguendo that a conclusory

declaration like DCSA’s is entitled to the presumption, the Post has provided this Court with

strong evidence to the contrary: DCSA’s withholding of two publicly available news articles.

See supra at 15-16. It is patently absurd to believe that nothing in publicly available news

articles could be disclosed without also disclosing information covered by Exemptions 6 and

7(C), particularly given that the agency’s Vaughn index specifically identifies one of the articles

as an NBC News report on the date of Teixeira’s arrest. DCSA Vaughn at 4; see also Kelley

Decl. Ex. 6.

       DCSA’s failure to properly segregate non-exempt material, as well as its inadequate

justifications for doing so, provide additional reasons to deny its Motion for Summary Judgment

and grant the Post’s cross-motion.

                                             CONCLUSION

       For all of the foregoing reasons, Plaintiff WP Company LLC, d/b/a The Washington Post,

respectfully requests that this Court grant its Cross-Motion for Summary Judgment, deny

Defendant’s Motion for Summary Judgment, and enter an order directing DCSA to release all

responsive records, or, in the alternative, directing DCSA to produce the responsive records to

the Court for an in camera review to determine which records and/or portions of records must be

released.




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Dated: July 8, 2024        Respectfully submitted,

                           BALLARD SPAHR LLP

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                           d/b/a The Washington Post




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                                    CERTIFICATE OF SERVICE

       I hereby certify that, on this date, I caused the foregoing to be filed and served

electronically via the Court’s ECF system upon counsel of record.



Dated: July 8, 2024                           /s/Matthew E. Kelley
                                              Matthew E. Kelley




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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


WP COMPANY LLC
d/b/a THE WASHINGTON POST,                                     Case No. 1:23-cv-3333

            Plaintiff,

                v.

DEFENSE COUNTERINTELLIGENCE AND
SECURITY AGENCY,

                Defendant.



                                       [PROPOSED] ORDER


          Upon consideration of Plaintiff’s motion for an order to the Parties to meet and confer

 and submit a joint proposed schedule for briefing or production, and for good cause shown, it is

 hereby

          ORDERED that the motion is GRANTED; and it is further

          ORDERED that counsel for Defendant shall meet and confer with Plaintiff’s counsel on

 or before January 18, 2024; and it is further

          ORDERED that the Parties shall file a joint proposed schedule for briefing or production

 on or before January 19, 2024.

 SO ORDERED:




 _______________________                                       ________________________
 DATED                                                         Hon. Timothy J. Kelly
                                                               U.S. District Judge



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